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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

IN REI IN RE: OIL SPILL BY THE OIL RIG                            MDL NO.: 2179
       “DEEPWATER HORIZON” IN THE GULF OF
       MEXICO, ON APRIL 20, 2010                                  SECTION: J

       THIS DOCUMENT RELATES TO:                                  JUDGE BARBIER

       Case No.: 2:10-cv-08888, [Rec. Doc. 63763];                MAG. JUDGE SHUSHAN
                 2:10-cv-02771


                                               ORDER

          Considering the foregoing Motion to Withdraw as Counsel:

          IT IS ORDERED that the Dugan Law Firm, APLC be allowed to withdraw as counsel

   of record for Plaintiff Maria C. Robledo-Valazquez in this case.

          Signed in New Orleans, Louisiana this _______ day of _____________, 2011.



                                                ________________________________
                                                UNITED STATES DISTRICT JUDGE
